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A 0 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DMSION


UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                                                (Far Offenses Committed On or Afte~November 1, 1987)


                                                                CASE NUMBER: 8:03-cr-124-T-30TGW
                                                                Defendant's USM No.: 41011418



NESTOR MEZA
                                                                Defendant's Attorney: Pedro Amador, cja.

THE DEFENDANT:

X pleaded guilty to count@)Two of the Indictment.
-
- pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not N t y .

Accordingly, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                   DATE OFFENSE                  COUNT
TITLE & SECTION                      NATURE OF OFFENSE                             CONCLUDED                     NUMBER(S1
46Appendix $5 l903(a) and            Possession With Intent to Distribute          March 28, 2003                Two
1903(g); 18 U.S.C. 8 2; and          5 Kilograms or More of Cocaine
21 U.S.C. $960@)(1)(B)(ii)


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984 and the Mandatory Victims Restitution Act of 1996.
                                                                                                                                         I
- The defendant has been found not g d t y on count(s)
-
X Count(s) One of the Indicunent is dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this districtwithin 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in the defendant's
economic circumstances.


                                                                                    Date of Imposition of Sentence: June 29,2006         I
                                                                                                                                         I
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A 0 245B (Rev 06/05) Sheet 2 - Imprisonment
Defendant:          NESTOR MEZA                                                                             Judgment - Page 2 o f 6
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                                                             IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of ONE HUNDRED and THIRTY-FIVE (135) MONTHS as to Count Two of the
Indictment.




- The court makes the following recommendations to the Bureau of Prisons:

-
X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.
          - at -a.m.1p.m. on -.
          - as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          -before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Oftice.



                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                 to                                                                   at
                                                                        , with a certified copy of this judgment.



                                                                        United States Marsha1

                                                                        By:
                                                                        Deputy Marshal
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A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release
Defendant:         NESTOR MEZA                                                                                   Judgment - Page 3of 6
Case No. :         8:03-cr-124-T-30TGW
                                                          SUPERVISED RELEASE

     Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3)
YEARS as to Count Two of the Indictment.
        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:
        The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
15 days of release from imprisonment and at least two periodic drug tests thereafter.

         If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant
         pay any such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance
         with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

         The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant
         shall also comply with the additional conditions on the attached page.


                                           STANDARD CONDITIONS OF SUPERVISION
         the defendant shall not lcave the judicial district without the permission of the court or probation ofticer;

         the defendant shall report to the probation ofticer and shall submit a truthful and cornplete written report within the first five days of each
         month;

         the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

         the defendant shall support his or her dependents and meet other fmily responsibilities;

         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training. or other
         acceptable reasons;

         the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

         the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia d a t e d to any controlled substances, except as prescribed by a physician;

         the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

         the defendant shall not associate with any persons engaged in critninal activity and shall not associate with any person convicted of a
         felony, unless granted permission to do so by the probation officer;

         the defendant shall p m i t a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;

         the defendant shall notify the probation offlcer within seventy-two hours of being arrested or questioned by a law enforcement officer;

         the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcanent agency without the
         pennission of the court;

         as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criininal record
         or personal history or characteristics and shall pennit the probation officerto makesuch notifications and to contirn~thedefendant's compliance
         with such notification requirement.
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A 0 245B (Rev 06/05) Sheet 3a - Supervised Release

Defendant:      NESTOR MEZA                                                         Judgment - Page 4of 6
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                                                SUPERVISED RELEASE

        The defendant shall also comply with the following additional conditions of supervised release:

X
-       If the defendant is deported, he shall not re-enter the United States without the written permission of the appropriate
        governmental authority.
X
-       The mandatory dm testing provisions shall apply pursuant to the Violent Crime Control Act. The defendant shall
                            f
        refrain from any un awful use of a controlled substance. The defendant shall submit to one drug test within 15 days
        of placement on probation and at least two periodic drug tests thereafter as directed by the probation officer.
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A 0 2458 (Rev 06/05) Sheet 5, Part A - Criminal Monetary Penalties
Defendant:        NESTOR MEZA                                                             Judgment - Page 5--      of 6
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                                         CRIMINAL MONETARY PENALTIES

         The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments
set forth on Sheet 5 . Part B.
                           Assessment                          Fine                       Total Restitution

        Totals:                                                Waived


-       The determination of restitution is deferred until         .    An Amended Judgtnerlt in a Criminal Case ( A 0 2432) will
        be entered after such determination.
-       The defendant shall make restitution (including community restitution) to the following payees in the amount listed
        below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise in the priority order of ercentage payment column below. However. pursuant to 18 U.S.C. 9
         3664(i). all nonfederal victims must be      in full prior to the United States receiving payment.
                                                                                                            Priority Order or
                                               *Total                      Amount of                        Percentage of
Name of Pavee                                Amount of Loss             Restitution Ordered                 Pavment




                           Totals:           L                          $


-        If applicable, restitution amount ordered pursuant to plea agreement S
-        The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $ 3612(f). All of the payment options on Sheet
         5, Part B may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 6 3612(g).
-        The court determined that the defendant does not have the ability to pay interest. and is ordered that;
        -         the interest requirement is waived for the - fineandfor         -    restitution.
         -        the interest requirement for the - fine and/or        - restitution is modifled as follows:



* Findings for the total amount of losses are required under Chapters 109A. 110, 110A, and 1 13A of Title 18, United States Code, for
offenses committed on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 06/05) Sheet 5 Part B - Criminal Monetary Penalties

Defendant:        NESTOR MEZA                                                                       Judgment - Page 3 of 3
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                                                 SCHEDULE OF PAYMENTS


Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as
follows:

A.      -
        X         Lump sum payment of $ 100.00 is due immediately, balance due
                            -not later than                   . or
                            -in accordance with - C, - D, or - E below: or
                  Payment to begin immediately (may be combined with -C , -D. or -E below): or
                  Payment in                  (e.g., equal, weekly, monthly, quarterly) installments of $            over a
                  period of          (e.g., months or years), to commence              days (e.g.. 30 or 60 days) after date
                  of this judgment: or
                  Payment in             (e.g ., equal. weekly. monthly. quarterly) installments of $      over a
                  period of -, (e.g.. months or years) to commence - after release from imprisonment to a term of
                  supervision; or
                  Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise in the s ecial instruction above. if this judgment imposes a period of
                                                    B             R
imprisonment, payment of criminal monetary enalties s all be due during the period of imprisonment. All criminal
monetary penalties, except those pa ments ma e through the Federal Bureau of Prisons' Inmate Financial Responsibility
                                        i:
Program, are made to the clerk of t e court, unless otherwise directed by the court, the probation officer. or the United
States Attorney.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
         Defendant Name. Case Number, and Joint and Several Amount:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
